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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

ALEX HOLT, MICHELLE DANIELS,
LARRY WASHINGTON, MARKO
FREEMAN, JOHN POINDEXTER, et al,

                      Plaintiffs,

v.                                                   Case No: 6:17-cv-693-Orl-37GJK

WAFFLE HOUSE, INC., WH CAPITAL,
LLC, THE SOURCE FOR PUBLIC DATA,
L.P., SHADOWSOFT, INC., et al,

                      Defendants.


                                    ORDER OF DISMISSAL

       Before the Court is Plaintiff’s Notice of Voluntary Dismissal without Prejudice

(Doc. 71) filed November 14, 2017 pursuant to the Court’s order dated October 25, 2017

in the related action Jones v. Waffle House, et al., Case No. 6:15-cv-01637-RBD-GJK (Doc

151). Accordingly, it is

       ORDERED that this case is hereby DISMISSED without prejudice. The Clerk is

directed to close the file.

       DONE AND ORDERED at Orlando, Florida this 16th day of November, 2017.




Copies:        Counsel of Record
